                   Case 20-50776-KBO             Doc 1   Filed 07/30/20   Page 1 of 1

CONFIDENTIAL - FILED UNDER SEAL


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                   Chapter 11

    Zohar III, Corp., et al.,1                               Case No. 18-10512 (KBO)

                                      Debtors.               Jointly Administered


    MBIA INSURANCE CORPORATION,

                                            Plaintiff,       Adversary No. 20-__________ (KBO)

                          -against-

    LYNN TILTON,
    PATRIARCH PARTNERS, LLC,
    PATRIARCH PARTNERS VIII, LLC,
    PATRIARCH PARTNERS XIV, LLC,
    PATRIARCH PARTNERS XV, LLC
    PATRIARCH PARTNERS AGENCY
    SERVICES, LLC,                                                        COMPLAINT
    PATRIARCH PARTNERS MANAGEMENT
    GROUP, LLC
    OCTALUNA, LLC,
    OCTALUNA II, LLC,
    ARK II CLO 2001-1, LLC,
    ARK INVESTMENT PARTNERS II, L.P.,
    LD INVESTMENTS, LLC,
    ZOHAR HOLDING, LLC, and
    ZOHAR HOLDINGS, LLC,

                                           Defendants.


                                        FILED UNDER SEAL




1
    The Debtors, and, where applicable, the last four digits of each of their respective taxpayer
identification numbers, are as follows: Zohar III, Corp. (9612), Zohar II 2005-1, Corp. (4059), Zohar CDO
2003-1, Corp. (3724), Zohar III, Limited (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-
1, Limited (5119). The Debtors’ address is 3 Times Square, c/o FTI Consulting, Inc., New York, NY 10036.


DOCS_DE:230003.1 53730/001
